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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                          CIVIL ACTION NO. 07-20472
              Plaintiff,
                                          DISTRICT JUDGE VICTORIA A. ROBERTS
v.
                                          MAGISTRATE JUDGE DONALD A. SCHEER
CARDELL CLINTON CAMPBELL and
TRACY JOBIE NELSON,

           Defendants.
________________________________/

                                          ORDER

       The Motions of Defendants Cardell Clinton Campbell and Tracy Jobie Nelson for

Retention and Production of Rough Notes, Run Sheets and Radio Transmission of Officers

were referred to the undersigned magistrate judge for hearing and determination. The

motions were addressed on the record during the hearings on the Defendants’ various

Motions to Suppress Evidence, on December 17, 2007 and January 25, 2008.

Government witness Brian Maligrida testified that he inquired of all officers and agencies

participating in the investigation giving rise to the charges in this case, and that no rough

notes or recorded radio transmissions were available. He further testified that at least one

run sheet had been located. Having reviewed the Defendants’ motions, as well as the

government’s responses, I find that the motions should be denied.

       Fed.R.Crim.P. 16 establishes the limits of pretrial disclosure of evidence held by the

government in criminal cases. Fed.R.Crim.P. 16(a)(1)(E) provides as follows:

              (a) Government’s Disclosure.

                      (1) Information Subject to Disclosure.
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                           *             *              *

             (E) Documents and Objects. Upon a defendant’s request,
             the government must permit the defendant to inspect and to
             copy or photograph books, papers, documents, data,
             photographs, tangible objects, buildings or places, or copies or
             portions of any of these items, if the item is within the
             government’s possession, custody, or control and:

                    (i) the item is material to preparing the defense;

                    (ii) the government intends to use the item in its case in
                    chief at trial; or

                    (iii) the item was obtained from or belongs to the
                    defendant.

As to the later two categories, the Defendant need not specify the items sought. In the

instant case, however, the government has provided evidence that no rough notes or

recorded radio transmissions exist. There is no indication that the government intends to

introduce any run sheet as evidence in its case in chief, or that any such document was

obtained from or belonged to the movants. Tangible evidence meeting the definition

contained in Fed.R.Crim.P. 16(a)(1)(E)(i) need not be produced, absent a showing of

materiality by the defense. United States v. Jordan, 399 F.2d 610 (2nd Cir.) cert. denied,

393 U.S. 1005 (1968).

             Materiality means more than that the evidence in question
             bears some abstract or logical relationship to the issues in the
             case. To obtain documents and tangible objects not originally
             the property of the excused or evidenced to be used in the
             government’s case in chief, the defendant must show that the
             pretrial disclosure of the material would ‘enable the accused to
             substantially alter the quantum of proof in his favor.’

Cissell, Federal Criminal Trials (5th Edition) Section 7-6(d). (Citing United States v.

Marshall, 532 F.2d 1279, 1285 (9th Cir. 1976); United States v. Buckley, 586 F.2d 498, 506


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(5th Cir. 1978), cert. denied, 440 U.S. 982 (1979); United States v. Ross, 511 F.2d 757 (5th

Cir. 1975)). There has been no showing of materiality by either of the moving Defendants.

       Brady v. Maryland, 373 U.S. 83 (1963) obligates the government to produce

evidence that is materially favorable to the defense. The rule includes both direct and

impeaching evidence. United States v. Bagley, 473 U.S. 667 (1985). The government’s

obligation extends to evidence in the files of police agencies, even if not within the

possession of the prosecutor. Strikler v. Greene, 527 U.S. 263 (1999).

       The Brady doctrine does not establish a constitutional right to pretrial discovery in

criminal cases. United States v. Presser, 844 F.2d 1275, 1284 (1976). Within due process

limits, the government has discretion as to when Brady disclosures must be made.

Pennsylvania v. Ritche, 480 U.S. 39 (1987). In the case at bar, the government has

committed to make all Brady material available to defense counsel on the day the trial

commences. I am satisfied that such production would be consistent with due process in

this case.

       In its response to Defendants’ Motions, the government voluntarily directed its

agents to preserve rough notes pending the trial of this case. The subsequent testimony

of Agent Malagrida establishes that no rough notes exist, and that any recorded radio

broadcasts were destroyed, pursuant to a 30 day destruction policy, prior to the filing of the

instant motions. In the absence of a showing that any existing run sheet will be offered by

the government in its case in chief, or is otherwise material to the defense within the

meaning of Fed.R.Crim.P. 16, I find no legal basis for an order directing pretrial disclosure.




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       For all of the above reasons, Defendants Cardell Clinton Campbell and Tracy Jobie

Nelson’s Motions for Retention and Production of Rough Notes, Run Sheets and Radio

Transmission of Officers are denied.




                                   s/Donald A. Scheer
                                   DONALD A. SCHEER
                                   UNITED STATES MAGISTRATE JUDGE

DATED: November 12, 2008




______________________________________________________________________

                              CERTIFICATE OF SERVICE

       I hereby certify on November 12, 2008 that I electronically filed the foregoing paper
with the Clerk of the Court sending notification of such filing to all counsel registered
electronically. I hereby certify that a copy of this paper was mailed to the following non-
registered ECF participants on November 12, 2008: None.

                                          s/Michael E. Lang
                                          Deputy Clerk to
                                          Magistrate Judge Donald A. Scheer
                                          (313) 234-5217




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